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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                          CRIMINAL NUMBER:
               v.
                                                          1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC

       Defendant.


 DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S RESPONSE
           TO COURT’S REQUEST REGARDING SCHEDULING

       Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”), by

and through undersigned counsel, respectfully states as follows:

       On Friday, January 4, 2019 at 7:21 PM, the Court ordered the parties to appear for a

“status hearing” on Monday January 7, 2019 at 11:00 AM. (Jan. 4, 2019 Minute Order.) The

Court did not follow its normal practice of consulting in advance with the parties regarding

availability. The parties appeared at 11:00 AM. The Court took the bench at approximately

11:35 PM. First, the Court excoriated undersigned counsel for recent pleadings that the Court

characterized as attacks on the Special Counsel. (Transcript of Jan. 7, 2019 Hearing at 4-5.)

Then the Court announced its intention to proceed with a hearing on a pending motion even

though neither party asked for a hearing, nor had the Court advised the parties to prepare for such

hearing. The Defendant respectfully refused to proceed, and then the Court requested that the

Defendant advise the Court by the end of the day today, January 8, 2019, of Defendant’s

availability to participate in a sealed hearing regarding its Motion to Compel Discovery from the

United States (Dkt. 78).




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       It is clear that at each court appearance the government has been represented by ten or

more lawyers and investigators working for the Special Counsel, the U.S. Department of Justice

National Security Division, and the United States Attorney for the District of Columbia. Each

one of these individuals is an experienced attorney, perfectly capable of advocacy on behalf of

the government. None of them, in pleadings or in court, have expressed any problems with the

content or tone of Defendant’s filings other than vigorously opposing the relief sought. For a

reason unknown to undersigned counsel, the Court took it upon itself to defend the Special

Counsel, creating at a minimum an appearance of bias or prejudice in favor of the government.1

See United States v. Bostick, 791 F.3d 127, 155 (D.C. Cir. 2015) (Kavanaugh, J.) (noting that “a

showing of an appearance of bias or prejudice sufficient to permit the average citizen reasonably

to question a judge’s impartiality is all that must be demonstrated to compel recusal”) (quoting

United States v. Heldt, 668 F.2d 1238, 1271 (D.C. Cir. 1981)) (emphasis original).

       Perhaps more importantly however, the Court did not consider the fact that while the

mainstream media has largely ignored Defendant’s pending motions, when the word “Judge”

appears before a person’s name, this political adornment suggests to the public that there now is

some higher level of wisdom than among the mere mortal lawyers in the case, and as such, every

single mainstream media organization repeated the Court’s words as gospel.            The direct

consequence was swift and clear; that is, undersigned counsel have received overnight and

continuing today a flow of hatred in the form of voicemail and electronic mail from self-

proclaimed patriots containing threats, intimidation, and the desire that both undersigned counsel



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  Regardless of the Court’s intent, the media reported the Court’s words as a defense of the
Special Counsel. See Charlie Gile and Rich Schapiro, Trump-appointed judge defends Mueller,
scolds     lawyer       for     Russian      firm,     NBCNews,       Jan.     7,     2019,
https://www.nbcnews.com/politics/justice-department/trump-appointed-judge-defends-mueller-
scolds-lawyer-russian-firm-n955756.


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promptly die. One communication specified that the cause of death for Ms. Seikaly should be by

fire. Apparently some of these brave self-proclaimed patriots were whipped into their frenzy by

a cable television entertainer unknown to undersigned counsel named Rachel Maddow who

devoted a significant portion of her variety program to the words spoken by the Court yesterday.

So while counsel’s words used in advocacy can hurt, the words of a Judge can have devastating

consequences.

       To the specific issues raised by the Court yesterday, undersigned counsel are available at

the Court’s convenience for a sealed hearing on the grand jury matter but respectfully note that in

light of the Court’s order during yesterday’s sealed proceedings, there appears to be no reason

for a hearing. Defendant notes that all it was seeking in the first place was for the Special

Counsel to explain the manner by which it obtained the information.2

       Finally, Defendant would note that yesterday the Court stated that Defendant would only

prevail on the pending discovery motion if the facts and law were on Defendant’s side.

(Transcript of Jan. 7, 201 Hearing at 5.) Unfortunately, it appears that the Court believes it is the

burden of the Defendant to establish it is entitled to discovery as opposed to the burden of the

Special Counsel to establish that Defendant is not entitled to discovery. Given the fact that there

is no case law to support the Special Counsel’s position in this case, Defendant remains

perplexed by the Court’s statement, but will leave that argument for another day.

Dated: January 8, 2019                               Respectfully submitted,




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  The tone of Defendant’s reply pleading regarding this issue (Dkt. 85) was intended to highlight
the fact that in his opposition memorandum the Special Counsel simply opposed the request,
cited no case authority in his pleading, and provided no declaration or affidavit to the Court
under seal or otherwise. It is curious why the Court was not offended by the Special Counsel’s
filing as well.


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                                  CONCORD MANAGEMENT AND
                                  CONSULTING LLC

                                  By Counsel,

                                   /s/Eric A. Dubelier
                                  Eric A. Dubelier
                                  Katherine Seikaly
                                  Reed Smith LLP
                                  1301 K Street, N.W.
                                  Suite 1000 – East Tower
                                  Washington, D.C. 20005
                                  202-414-9200 (phone)
                                  202-414-9299 (fax)
                                  edubelier@reedsmith.com
                                  kseikaly@reedsmith.com




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